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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF KENTUCKY
SOUTHERN DIVISION
PIKEVILLE

CRIMINAL ACTION NO. 7:23-CR-02-KKC

UNITED STATES OF AMERICA PLAINTIFF
V. PLEA AGREEMENT
MALINDA SUE MOUNTS,

aka LINDY DEFENDANT

ke ek Rk k OK

L, Pursuant to Federal Rule of Criminal Procedure 11(c), the Defendant will
enter a guilty plea to Count One and Count Two of the Indictment. Count One charges
a violation of 21 U.S.C. § 846, conspiracy to distribute 50 grams or more of a mixture or
substance containing a detectable amount of methamphetamine, a Schedule II controlled
substance. Count Two charges a violation of 18 U.S.C. §924(c)(1)(A), possession of a
firearm in furtherance of a drug trafficking offense. Pursuant to Rule 11(c)(1)(A), the
United States will move at sentencing to dismiss Counts Three, Four, and Five. Pursuant
to Rule 11(c)(1)(A), the United States will not bring additional charges against the
Defendant based upon evidence in its possession at the time of the execution of this
Agreement and arising out of the Defendant’s conduct within the Eastern District of
Kentucky, unless the Defendant breaches this Agreement.

2s The essential elements of Count One are:

(a) | Two or more persons conspired, or agreed, to distribute a mixture or
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substance containing a detectable amount of methamphetamine, a
Schedule II controlled substance;

(b) The Defendant knowingly and voluntarily joined that conspiracy; and

(c) That the amount of a mixture or substance containing a detectable
amount of methamphetamine that was attributable to the Defendant as
a result of Defendant’s own conduct and the conduct of other co-
conspirators reasonably foreseeable to the Defendant was at least 50
grams.

The essential elements of Count Two are:

(a) That the Defendant committed the crime of conspiracy to distribute
50 grams of a mixture or substance containing a detectable amount of
methamphetamine, a drug trafficking offense which may be
prosecuted in a court of the United States;

(b) That the Defendant knowingly possessed a firearm; and

(c) That the possession of this firearm was in furtherance of the
aforementioned drug trafficking offense.

3. As to Count One and Two, the United States could prove the following facts
that establish the essential elements of the offense beyond a reasonable doubt, and the

Defendant admits these facts:

(a) | Between on or about a day in December 2022 and continuing through
on or about January 30, 2023, in Pike County within the Eastern
District of Kentucky, the Defendant worked together with a co-
conspirator to sell methamphetamine from the residence they shared
in Pike County. As they sold the methamphetamine, the Defendant
and the co-conspirator generally possessed firearms for protection,
including protection against the dangers of drug trafficking.

(b) On or about December 12, 2022 (approximately 56 grams) and
January 20, 2023 (approximately 40 grams) law enforcement used a
confidential informant to make _ controlled purchases of
methamphetamine from the Defendant and her co-conspirator, both of
whom participated in the distribution. Both transactions occurred at
the residence of the Defendant and the co-conspirator, and firearms
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were out and present at the residence during both transactions.

(c) Onor about December 15, 2022, law enforcement conducted a traffic
stop of a vehicle in which the co-conspirator was the driver and the
Defendant was a passenger. During a subsequent search of the
vehicle, law enforcement located approximately 127 grams of
methamphetamine and two loaded firearms.

(d) On or about January 30, 2023, law enforcement executed a search
warrant at the residence shared by the Defendant and the co-
conspirator and located a firearm. On the same date, law enforcement
also conducted a traffic stop of the co-conspirator and found him to
be in possession of a firearm as well.

4, The statutory punishment for Count One is imprisonment for not less than 5
years and not more than forty years, a fine of not more than $5,000,000, and a term of
supervised release of at least 4 years. The statutory punishment for Count Two is not less
than 5 years nor more than life imprisonment — to be served consecutive to any term of
imprisonment imposed for any other offense — not more than a $250,000 fine, and not more
than 5 years of supervised release. A mandatory special assessment of $200.00 applies, and
the Defendant will pay this assessment to the U.S. District Court Clerk as directed by the
Court.

5, Pursuant to Federal Rule of Criminal Procedure 11(c)(1)(B), the United
States and the Defendant recommend the following sentencing guidelines calculations, and
they may object to or argue in favor of other calculations. This recommendation does not
bind the Court.

(a) The United States Sentencing Guidelines (U.S.S.G.) manual in effect

at the time of sentencing will determine the Defendant’s guidelines
range.

(b) Pursuant to U.S.S.G. § 1B1.3, the Defendant’s relevant conduct

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includes between 500 grams and 1.5 kilograms of methamphetamine
mixture, which corresponds to a base offense level of 30.

(c) Pursuant to U.S.S.G. § 3E1.1 and unless the Defendant commits
another crime, obstructs justice, or violates a court order, decrease the
offense level by 2 levels for the Defendant’s acceptance of
responsibility. If the offense level determined prior to this 2-level
decrease is level 16 or greater, the United States will move at
sentencing to decrease the offense level by 1 additional level based on
the Defendant’s timely notice of intent to plead guilty.

6. No agreement exists regarding the Defendant’s criminal history category
pursuant to U.S.S.G. Chapter 4.

i The Defendant will not file a motion for a decrease in the offense level based
on a mitigating role pursuant to U.S.S.G. § 3B1.2 or a departure motion pursuant to
U.S.S.G. Chapter 5, Parts H or K.

8. The Defendant waives the right to appeal the guilty plea and conviction. The
Defendant reserves the right to appeal the sentence. Except for claims of ineffective
assistance of counsel, the Defendant also waives the right to attack collaterally the guilty
plea, conviction, and sentence.

9. If the Defendant violates any part of this Agreement, the United States may
void this Agreement and seek an Indictment for any violations of federal laws, and the
Defendant waives any right to challenge the initiation of additional federal shames,

10. The Defendant will forfeit to the United States all interest in the property
listed in the forfeiture allegation of the Indictment and will execute any documents
necessary for this forfeiture. The Defendant agrees that all of the property listed in the

forfeiture allegation of the Indictment is subject to forfeiture because the United States can
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prove by a preponderance of the evidence that a nexus exists between the property and the

offense.

11. | This document contains the complete and only Plea Agreement between the
United States Attorney for the Eastern District of Kentucky and the Defendant. The United

States has not made any other promises to the Defendant.

iz,

This Agreement does not bind the United States Attorney’s Offices in other
districts, or any other federal, state, or local prosecuting authorities.

13. The Defendant and the Defendant’s attorney acknowledge that the Defendant
understands this Agreement, that the Defendant’s attorney has fully explained this

Agreement to the Defendant, and that the Defendant’s entry into this Agreement is

voluntary.

CARLTON S. SHIER, IV
UNITED STATES ATTORNEY

O2L0
Date: 7 t/ cs By: ZK oe fur ——

Andrew H. Trimble
Assistant United States Attorney

Date: O7 -071-A025 Mold Maak

Melindé\Sue Mounts
Defendant z

“ :
Date: [7 [28 Yl. Vi Y
Michael B. Fox —*_} \__/

Attorney for Defendan

